
FULLER, RICHARD S., Associate Judge.
The pre-trial order specified the issues to be submitted to the trier of fact. The *476jury, by its verdict, determined that the boundary between appellants’ and appellees’ property was the old fence line and, in addition, awarded appellees $25.00 damages as a result of appellants’ interference therewith.
There is no basis for upsetting the jury’s findings.
The parties admit that an error exists in the property description contained in the Final Judgment. Accordingly, the cause is remanded to the trial court solely for the purpose of correcting this error in the Final Judgment. Florida Rule of Civil Procedure 1.540(a).
McCORD, Acting C. J., and SMITH, J., concur.
